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                                                                                                                                                                                 INSTR#              2017079441
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                                OCEAN COUNTV CLERK'S OFFICE                                                                                                                     scon n.  COLABftt'A~ g~~~ 9 2lL£An
                                       RECORDING DOCUMENT                                                                                                                       OCEAN COUNTY' NEW JERSEY         RK
                                          COVERSHEET                                                                                                                            RTF TOTAL TAX S26s.,s

                                         SCOTT M. COLABELLA
                                       OCEAN COUNTV CLERK
                                                   P.O. BOX2191
                                  TOMS RIVER, NJ 08754-2191
                                        (732) 929-2110
                                  www.oceancountyclerk.com
                                                                                                                     OFFICIAL USE ONLY
            D,t.TE OF DOCUMENT: (Enter Date as follows: 00/DQ/DOOO)



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             I    OF OOC<JMENT, ..,.,,... ,,,,,. _ _ _




         rp·-•-·-- .
                                                                                                                     OFFICIAL USE ONLY. REALTY TRANSFER FEE
         filRST PARTY NAME: (Enter Last Name, First Name)                                                            SECOND PARTY NAME: (Enter Last Name, Fim /'Jama)
                                                                                                                     Mlchael P. Siano, unmarried




        r~~p-,-----,                                                                                                                                                                                                                                ~

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         BLOCK: 630.02
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                                                                                                                    LOT: 10                                                                                                                     V
        1MUNICIPALllY: Township ofla?!Y


         CONSIDERATION: $197,500.00

         MAILING ADDRESS OF GRANTEE: (Enter street Address, Tow_n. StatB, Zip Gode)
         102 Haines Street East, Lanoka Harbor, NJ 08734



                                          THE FOLLOWING SECTION IS FOR
                   ORIGINAL MORTGAGE BOOKING & PAGING INFORMATION FOR.
                                                                       ASSIGNMENTS,
                                                                               .
                                                                                    RELEASES,
                     SATISFACTIONS, DISCHARGES & OTHER ORIGINAL MORTGAGE AGREEMENTS·ONLY
        ORIGINAL BOOK:                                                                                             ORIGINAL PAGE:




                           OCEAN COUNTY CLERK'S OFFICE RECORDING DOCUMENT COVER SHEET
                                     Please do not detach this page from the· original document as It
                              contains Important rucordlng ·information and Is part of the permanent record.




  I IHEREBY CERTIFY THE FOREGOING:
  TO BE A TRUE COPY
                 SCOTT M. COLABELLA
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  I .-
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   /          '5 Special~eputy Clerk
                      l-l      Date                        ·
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      Case 3:20-cv-12827-MAS-DEA Document 1-2 Filed 09/18/20 Page 3 of 4 PageID: 28



          • DEED.007
            STANDARD DEED-BARGAIN &
                                                                             Jrepwlr.
            SALE (COV. VS. GRANTOR'S ACTS)                                   KIRK C RUSSOM, ES{},
                                                                             iaw OJ/Jtu ofApl~OI, COJJrmzo & /wsso111
           Plaln Language
                                                                             SSI .laludrurst Road, Flrstjloor
                                                                             Toms River, NJ 087S5




          'OtJJff 318te!J is made ~n July Jl., 2017 and delivered July~ 2011, _
                                                                                                                        D
          Alfred P. Riebschlager, unmarried,
          whose address is I 02 Haines Street East, Lanoka Harbor, NJ 08734,
                                                                      referred to as the d§~antor,




         Michael P. Siano, unmarried,
         whose post office address is about to be 102 Haines Street East, Lanoka Harbor, NJ ,08734,
                                                                      referred to as the cltantee..

         The words "Grantor" and "Grantee" shall mean all Grantors and all Grantees listed above.



                 ~tanftet of @bmedf,fp. The Grantor grants and conveys (transfers ownership
         of) the property (called the "Property") described below to the Grantee. This transfer is made for
         the sum of One Hundred Nmety-seven Thousand, Five Hundred ($197,500.00) Dollars. The
         Grantor acknowledges receipt of this money.



                 «ax :fflap 3lleftrence.     Municipality of Township of Lacey, Block No. 630.02, Lot
         No. JO, Qualifier No.          , Account No•.



                  !)ropertp, The property consists of the land and all the buildings and structures on the
         land in the Township/Borough of Lacey, County of Ocean and the State of New Jersey. This
         grant and conveyance is made under and subject to all covenants, conditions, rights, reservations,
         restrictions, and easements of reco~d, if any.

         The property is commonly known    as 102 Haines Street East, Lanoka Harbor, NJ 08734.
         Being the same property conveyed to Orantor(s) by Deed from Alfred A. Riebschlager and Emily
         Riebschlager, husband and wife, dated 5/20/2002 and recorded 6/18/2002 in the Office of the
         Ocean County Cl~rk. in Deed Book 10883, Page 375.



         The legal description is: Annexed hereto and made a part hereof._



                l!3romfses bp dfrantor. The Orantor promises that the Grantor has done no act to
        encumber the property. This promise is called a "covenant as to grantor's acts" (N.J.S.A.
        46:4-6). This promise means that the Grantor has not allowed anyone else to obtain any legal
        rights which affect the property {such as by making a mortgage or allowing a judgment to be
        entered against the Grantor).




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      FRD Surveying, LLC
      136 Golf View Boulevard
      Toms River, NJ 08753

      .July 17, 2017                                                                           Job No. 17-0262

                                    DESCRIPTION OF PROPERTY
                                              SITUATED IN

                    TOWNSHIP OF LACEY, OCEAN COUNTY, NEW JERSEY
      Property is known and designated as Lot 10 in Block 630.02 as shown on the current tax
      maps of the Township of Lacey, Ocean County, New Jersey. Also being known as Lot
      10 in Block 630B as shown on a certain plan entitled "Final Subdivision Plat Section No.
      1, Bayberry Village, Township of Lacey, Ocean County, New Jersey" filed in the Ocean
      County Clerk's Office on December 18, 1970 _as Map Number H-314.

      Also being known as 102 Haines Street East, Lanoka Harbor, N.J.

     BEGINNING at a point in the northerly line of Haines Street East (50' ROW) at the westerly end
     of a curve connecting said line of Haines Street East (50' ROW) with the westerly line of
     Cedarwood Drive (50' ROW); thence running along the northerly line of Haines Street East (SO'
     ROW)
         1. South 71 degrees 22 minutes 56 seconds West, a distance of7l.70 feetto a to a point of
             curvature; thence                                                           ·
        2. Along a curve to the right, having a radius of 390.00 feet, an arc distance of 4.00 feet to a
            point; thence
        3. North 08 degrees 40 minutes 56 seconds West, a distance of 119.26 feetto a pin found;
            thence                          ·
        4. North 86 degrees 14 minutes 23 seconds East, a distance of 83.49 feet to a pin found;
            thence
        5. Along a curve to the left, having a radius of 316.21 feet, an arc length of 82.00 feet to a
            point of reverse curvature; thence
        6. Along a curve to the right, having a radius of 15.00 feet, an arc length of 23.56
            feet to the point and place of BEGINNING.
        This description is in accordance with a map entitled "Survey of Property, Lot 10 Block
        630.02" prepared by FRO Surveying, LLC and dated July 17, 2017.

                                                              Prepared By:
                                                             FRD Surveying, LLC




                                                               qY~/JIE
                                                             Frank R. DeSantis
                                                             Professional Land Surveyor
                                                             New Jersey License No. GS42001
